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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.                              CIVIL ACTION NO. 12-859

 VERSUS                                             SECTION I, DIVISION 5

 MARLIN GUSMAN, ET AL.                              JUDGE LANCE M. AFRICK
                                                    MAGISTRATE JUDGE NORTH


                    CITY OF NEW ORLEANS’ RESPONSE TO
           REPORT NO. 14 OF THE INDEPENDENT MONITORS, R.DOC. 1476

MAY IT PLEASE THE COURT:

        Although the Court Appointed Monitors furnished all other parties to this lawsuit with their

draft report in August, 2021, the City’s request for a copy of the draft report from the

“independent” monitors was denied by the monitors. The City first received a copy of the

independent monitors’ report on October 5, 2021. The City respectfully requests the Court to

advise the Monitors to provide their draft reports to the City of New Orleans at the same time the

draft report is provided to the other Orleans Parish Sheriff’s Office (OPSO) consent judgment

litigants. While the City recognizes that it is not a party to the Consent Judgment, the City incurs

all monitor related cost and the majority of the operations budget for the Orleans Justice Center

(OJC). Moreover, the City was brought into the above captioned Consent Judgment litigation as

a third-party Defendant by OPSO, is thus a party to this consent decree litigation matter and is

required to participate in all litigation proceedings accordingly.

        Within the past two fiscal years, the City and OPSO have been charged $1,009,216 by the

Court appointed monitors, for which payment is always expected, and with no monitor oversight.

In addition, during the last two fiscal years, the City paid OPSO the sum of $102,419,972, and has

also separately paid Wellpath, the OPSO Medical and Mental Healthcare provider, an additional




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$10,793,559 for services provided during the same timeframe. In view of the City’s financial

obligations to both the Monitors and the OPSO, as well as the City’s status as a litigation party in

the Consent Judgment litigation, the City requests that it receive the Monitors’ draft report and the

Monitors’ final report simultaneously with the other OPSO Consent Judgment litigants. Fairness

warrants this result.

        Although the City has only been afforded an abbreviated period of time to review the

Monitors’ Report No. 14, the City believes that it will be helpful for the Court and the other

litigants to receive some of the City’s observations regarding the Monitors’ Report No. 14, R.Doc.

1476.

        The Monitors’ Report No. 14, R.Doc. 1476, expressed views regarding medical services

and mental healthcare at OJC. The other issues described in Report No. 14 primarily relate to the

general operations of the OJC and the corresponding undertakings by OPSO under the Consent

Judgment.

        With respect to medical services, Report No. 14 appears to indicate that there is substantial

compliance with all but very few of the medical provisions in the Consent Judgment. Regarding

medical care for inmates, no example of any patients/inmates not being provided with adequate

medical care are provided in Report No. 14. In fact, the Monitors agree that OPSO is in substantial

compliance with all but a small number of medical provisions in the Consent Judgment. Therefore,

the City submits this response to address concerns observed in reviewing the monitor’s report in

the following areas: staffing deficiencies, suicide watch, monitor visits, juveniles and lack of audit

methodology/data to support the monitors’ conclusory observations.




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        In addition, the City respectfully invites the Court to review Wellpath’s separate response

and supporting exhibits with regard to the Monitors’ Report No. 14. Wellpath’s submission and

exhibits are appended to the City’s response and marked as Exhibit A and incorporated herein.

Staffing Deficiencies

        An unequivocal overarching issue which has impaired medical and mental health services,

as well as other operations at the Orleans Justice Center (“OJC”), continues to be the lack of an

adequate correctional staff. It cannot be emphasized enough that the level of staffing, as the

Monitors have stated in each of their Reports, is at the core of the problems being experienced by

OJC and some of the Monitors’ concerns. As the Monitors expressed in Report No. 14, R.Doc.

1476: “The level of staffing is insufficient to adequately supervise inmates and allow for the safe

operation of the facility. …. discussion during the monitoring tour indicated that a plan exists, but

it has not been finalized or submitted to the Monitors. A staffing plan which is based on staffing

levels which do not exist is insufficient.” (Pages 34-35 in the Report). OPSO is unable to

adequately staff OJC as the Monitors repeatedly have expressed over many years, predating the

COVID-19 global pandemic, and therefore it is inconceivable that the OPSO will ever have

sufficient staff to safely operate the OJC, much less another major facility based on all reasonably

available information.

        As the Monitors have repeatedly noted in their Reports to the Court, OJC has not been able

to hire or retain necessary correctional staff. This staffing deficiency has not been cured at OJC

during the past 8 years. Notably, all four Court Ordered newly renovated units in the Temporary

Detention Center (“TDC” or “THC”) are not being used due to lack of security staff. Nonetheless,

the Monitors indicate that Phase III is appropriate even though it is clear that the proposed new

facilities will continue to lack adequate correctional staff. This continuing and recurring staffing




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deficiency underlies virtually every issue in the Monitors’ Report No. 14, but pointedly

underscores the inappropriateness of another jail facility that similarly would be understaffed. In

Monitors’ Report No. 14, the Monitors have commented at least sixteen (16) times that the OPSO

staff is inadequate and prevents proper services for the inmates consistent with the Consent

Judgment (See pages 8, 9, 12, 13, 34, 35, 43, 48, 65, 74, 77, 79, 88, 93, 109 and 114 of Report No.

14). Until adequate staff can be employed and retained at OJC, the legitimacy of constructing

another jail facility (known as the Phase III new jail building) can reasonably be questioned given

this acute shortage of correctional staff. Equally significant is the fact that the proposed design for

Phase III will potentially not permit sufficient single celling for inmates with acute challenges,

while even the Monitors indicate that single cells are needed for these acute inmates. In contrast,

the retrofit proposed by the City offers more single cells (45 single cells in the retrofit as opposed

to 19 single cells in proposed Phase III). This concern has been raised several times during

Executive Committee Meetings. With respect to the Monitors, a number of deficiencies and

inconsistencies appear in Report No. 14. For example, Dr. Patterson appears to be complaining

primarily about lack of counseling services and inadequate suicide watches. Importantly, Wellpath

has provided counseling services to those inmates in need of counseling. Although there was

criticism that some of the counseling occurred outside of the cells, those occurrences occurred

primarily during the apex of the COVID-19 global pandemic, which likely explains the reason

why a number of the Monitors declined to participate in on-site visits at OJC. Nevertheless, the

inmates received counseling in a relatively private setting and, more privacy is now being

permitted for counseling sessions as the result of the limited control of COVID-19.




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Suicide Watch

        In Monitors’ Report No. 14, there is also an expression of concern about inadequate suicide

watches. Wellpath personnel, Tulane professionals, complemented by OPSO deputies, have

successfully engaged in suicide watches. While any suicide is one too many, in the one instance

where a suicide did occur in the past several years, there was nothing in the record to support that

policies were not followed in this one instance. As noted earlier, the cell door contacts for

treatment sessions has been greatly diminished and is rarely used now except when there are

serious security issues or health consequences for the inmate and the treating healthcare provider.

In short, Wellpath has been compliant in the delivery of counseling services. The Court is

respectfully invited to the detailed Audit prepared by Dr. Daphne Glindmeyer and Dr. Jim Austin

which is attached as Exhibit B to this submission and incorporated by reference.1

Monitors’ Visits

        Notably, on-site visits were not completed by Dr. Patterson and several other Monitors,

notwithstanding OPSO’s specific request for in-person monitor visits. As Report No. 14 states,

“the medical, mental health and classification portions were conducted virtually” (pg. 4 of the

Report). The City, like the OPSO, respectfully submits that Dr. Patterson should have made a

personal on-site tour for Report No. 14 instead of virtual participation. As a result, many of Dr.

Patterson’s observations are general in nature, are not documented, and squarely contradict the

specific findings by Dr. Glindmeyer and Dr. Austin (these detailed comments are appended to this

submission). It is difficult, if not impossible, for Dr. Patterson to opine about compliance ratings

unless he has made on-site visits or structured virtual visits to conduct observations of jail

operations and conduct formal interviews with both staff and inmates. The OPSO has expressed


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    In collaboration with OPSO, the City has issued a Request for Proposals (RFPs) for OPSO medical and mental
    healthcare services which is currently open.



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their agreement with this requisite for on-site visits. Until Dr. Patterson and the other Monitors

are able to conduct on-site visits, the Monitors’ Reports on these issues should be suspended or

deferred. Notably, Wellpath personnel, Tulane physicians, and OPSO are able to make daily visits

to the jail, though Dr. Patterson and Dr. Greifinger chose not to do so. That, of course, is their

prerogative, but it directly impacts the quality and completeness of their views.

        In a like vein, Report No. 14 states that the Monitors were in “frequent contact” with

inmates and staff, but fails to specify how many contacts were made and by whom. For example,

there is no documentation of how many times the Monitors accessed the available Wellpath data

base to sample treatment case plans and associated treatment contacts made by both Wellpath

healthcare providers and Tulane physicians. Secondly, the Monitors now criticize OPSO for the

absence of a Compliance Unit. Yet, there is no requirement for a Compliance Unit in the Consent

Judgment. Although the Monitors indicated that they have provided guidance to OPSO for a

Compliance Unit, there is nothing in Report No. 14 to indicate what would constitute such a unit,

the number of staff, functions, and a suggested budget. Nevertheless, the Monitors acknowledge

that OPSO has “begun to take steps toward the formation of a Compliance Unit, but it is not

operational” (pg. 5 of the Report).

        In Report No. 14, the Monitors make statements of findings that lack specifics. It appears

that just a portion of the Monitors made in-person visits to OJC. Nonetheless, Report No. 14

recites that the security staff were found to be responsible for “suicide watch” during the site visit,

but the deputies routinely stated they did not understand what their duties were to perform suicide

watches (pg. 10 of the Report).




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Juvenile Inmates

        The Monitors also raised the issues of youthful inmates. However, virtually all, with

perhaps the exception of one youthful inmate, are housed in the Juvenile Justice Intervention Center.

The initiative to move youthful inmates from OJC to the Juvenile Justice Intervention Center was advocated

for by the City, and with the City’s assistance, it was essentially accomplished. Nevertheless, the Monitors’

comment that one youthful inmate could “tie up an entire housing unit.” This issue would not be addressed

by the proposed Phase III facility, as even the Monitors acknowledge (pg. 13 of the Report).

        The City recognizes that the Monitors have made a number of general statements, such as

medication not being distributed properly. Yet, once again, these general comments lack specifics

and are directly addressed by Wellpath in its response (See Exhibit A to this submission). The

expression by the Monitors that medication is found during cell shakedowns “suggesting that the

medication distribution process is flawed” lacks details, needed specificity, and is countered by

Wellpath’s detailed submission. It is virtually impossible for the City or OPSO to reasonably

respond to these conclusory comments. Equally important, the Court should be provided with the

specifics of these types of statements rather than just “suggestions” as the Monitors have offered

in their latest Report.

        Although the Monitors repeatedly observed that the jail population continues to be reduced,

the reduction of the jail population seemingly has still not resulted in adequate security staff for

the total operations of OJC, much less opening and attempting to operate another jail building.

Concomitantly, the jail population should continue to decline given the reactivation of the Judges

at Orleans Parish Criminal District Court, which will permit the processing of trials or guilty pleas

and the inevitable and required transfer of inmates to the Department of Corrections or results that

they be released from incarceration.




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Lack of Methodology/Data

           Respectfully, Dr. Patterson has never detailed how he offers his so-called compliance

ratings.     In particular, he did not appear to have used standard auditing methods when

representative samples of the mental health case load are selected and audited to determine: “1)

the adequacy of the case plan, and 2) the offering of appropriate healthcare services.” Although

there is a cryptic reference to 141 medical records, there is no specificity as to whether the inmates

for these medical records are on the case load, how they were selected, or any additional

information provided by the parties (pg. 64 of the Report). While the Monitors commend the work

of the Tulane physicians and the Wellpath healthcare providers, they inexplicably question

whether there is any progress with Tulane’s interface with Wellpath. They also comment that the

prisoner is not involved in team meetings between team meetings between Wellpath and Tulane.

Aside from the logistical and health challenges (which could be insurmountable) to involve the

prisoner in team meetings with healthcare providers, there is nothing in the Consent Judgment

requiring this interaction. Furthermore, it is not apparent that the Wellpath data has been accessed

to confirm, if possible, this supposition.

           Correspondingly, the Report states that there were numerous incidents of supervisors

reassigning or requesting reassignment of inmates under the guise of an inmate being an enemy of

someone else in a housing unit, when it appears that the real reason was the desire to provide relief

from dealing with a difficult inmate (pg. 11 of the Report). Absent from the Report is the data to

support the Monitors’ claims of “numerous incidents” or the basis of how these incidents were

detected or measured by the Monitors, except general references to a series of various documents

without offering any specificity. There is no reference to accessing the Wellpath data system that

contains critical information on case plans and delivery of healthcare services. Likewise, while




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there is a reference that inmates were “interviewed,” there is no indication of how many inmates

were interviewed, how they were selected for the interviews, what questions were asked, the

responses from the inmates, and the findings of the interviews. As Report No. 14 issued by the

Monitors reflects, all but very few of the medical provisions are in substantial compliance. The

City respectfully invites the Court’s attention to Sections C.2.a (substantial compliance), C.3.b

(substantial compliance), C.3.d (substantial compliance), and C.2.b (partial compliance).

                                        CONCLUSION

        Without question, the City respects the time and resources the Court has devoted to the

improvement of the jail facility in Orleans Parish. The City is providing this submission so that

the Court understands the concerns of the City and the deficiencies that the City believes exist in

the latest Monitors’ Report. This is another reason that the City believes it should be included in

the receipt of draft reports from the Monitors and have the ability to provide comments to those

draft reports before they are finalized. In addition, many of these issues, including the design

concerns relating to the proposed Phase III facility and the attendant staff shortages, could be

addressed collaboratively by the parties. The City has offered to mediate the issue of a Phase III

new jail building as well as any other concerns expressed by the litigants. Regrettably, a meeting

among all the parties or a more structured mediation with a neutral mediator has not yet come to

fruition. The City would welcome the Court to encourage the parties to proceed with this approach

in the belief that the City as well as the other parties could make progress for the inmates, the

residents of the City of New Orleans, and the mission of this Court as well as the Monitors.

                                              Respectfully submitted,


                                              BY:     /s/ Harry Rosenberg
                                                     SUNNI J. LEBEOUF (Bar #28633)
                                                     CITY ATTORNEY



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                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing was filed on this 29th day of October 2021,

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all participating counsel of record and the Court, and a copy was sent to the Lead Monitor for

distribution to the other Monitors.




                                                        /s/ Harry Rosenberg




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